         19-01360-scc        Doc 18     Filed 03/06/20 Entered 03/07/20 00:16:04                    Imaged
                                       Certificate of Notice Pg 1 of 3
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                               One Bowling Green
                                            New York, NY 10004−1408


IN RE: Perez−Correa et al v. Asia Research and Capital      CASE NO.: 19−01360−scc
Management Ltd. et al

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 0




                                           NOTICE OF HEARING



Please take notice that a status conference will be held in the above captioned case on March 9, 2020 at 10:00 a.m. in
courtroom 623.

Thank you



Dated: March 4, 2020                                         Vito Genna
                                                             Clerk of the Court
               19-01360-scc           Doc 18      Filed 03/06/20 Entered 03/07/20 00:16:04                          Imaged
                                                 Certificate of Notice Pg 2 of 3
                                               United States Bankruptcy Court
                                               Southern District of New York
Perez-Correa,
         Plaintiff                                                                                Adv. Proc. No. 19-01360-scc
Asia Research and Capital Management Ltd,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User:                              Page 1 of 2                          Date Rcvd: Mar 04, 2020
                                      Form ID: 143                       Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 06, 2020.
smg             N.Y. State Unemployment Insurance Fund,    P.O. Box 551,   Albany, NY 12201-0551
smg             New York City Dept. Of Finance,    345 Adams Street, 3rd Floor,
                 Attn: Legal Affairs - Devora Cohn,    Brooklyn, NY 11201-3719
smg            +United States Attorney’s Office,    Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,    86 Chambers Street, Third Floor,  New York, NY 10007-1825

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 04 2020 19:47:32
                 New York State Tax Commission,   Bankruptcy/Special Procedures Section,   P.O. Box 5300,
                 Albany, NY 12205-0300
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Mar 04 2020 19:47:10     United States Trustee,
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick Street, Room 1006,   New York, NY 10014-7016
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
dft               Asia Research and Capital Management Ltd.
pla               Carlos Williamson-Nasi
dft               Does 100
pla               Fernando Perez-Correa
dft               GHL Investments (Europe) Ltd.
pla               Gonzalo Gil-White
pla               Jose Antonio Canedo-White
intp              Jose Gerardo Badin
pla               Miguel Angel Villegas-Vargas
dft               Oro Negro Decus Pte., Ltd.
dft               Oro Negro Fortius Pte., Ltd.
dft               Oro Negro Impetus Pte., Ltd.
dft               Oro Negro Laurus Pte., Ltd.
dft               Oro Negro Primus Pte., Ltd.
dft               Ship Finance International Ltd.
                                                                                                                   TOTALS: 15, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 06, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 4, 2020 at the address(es) listed below:
              Gabriel Fernando Soledad   on behalf of Plaintiff Fernando Perez-Correa
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              Gabriel Fernando Soledad   on behalf of Plaintiff Gonzalo Gil-White
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              Gabriel Fernando Soledad   on behalf of Plaintiff Jose Antonio Canedo-White
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              Gabriel Fernando Soledad   on behalf of Plaintiff Carlos Williamson-Nasi
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              Gabriel Fernando Soledad   on behalf of Plaintiff Miguel Angel Villegas-Vargas
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              Shmuel Vasser    on behalf of Defendant    Oro Negro Impetus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser    on behalf of Defendant    Oro Negro Decus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
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                                       Certificate of Notice Pg 3 of 3


District/off: 0208-1          User:                       Page 2 of 2                  Date Rcvd: Mar 04, 2020
                              Form ID: 143                Total Noticed: 5


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Shmuel Vasser    on behalf of Defendant    Oro Negro Primus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser    on behalf of Defendant    Oro Negro Fortius Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser    on behalf of Defendant    Oro Negro Laurus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              William Clareman    on behalf of Defendant    Oro Negro Fortius Pte., Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Asia Research and Capital Management Ltd.
               wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Oro Negro Decus Pte., Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Oro Negro Primus Pte., Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    GHL Investments (Europe) Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Oro Negro Laurus Pte., Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Oro Negro Impetus Pte., Ltd. wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Ship Finance International Ltd.
               wclareman@paulweiss.com
              William Clareman    on behalf of Defendant    Does 100 wclareman@paulweiss.com
                                                                                             TOTAL: 19
